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                                            U.S.PRIVATEVAU LIS
                             Executor/Conservator Notification Letter

    Dear (Name):
    (fill in the name. address. email address. and ehone #'s o(your executor in the event o(your death)

    Executor's Address:

    Executor's Email Address:

    Executor's Phone #s:                                         Cell:


    You received this letter some time ago with instructions to open it only in the event of my
    death or a court judging me mentally incompetent. If you are reading this letter, one of
    those events has occurred.

    On                       ,I rented safe deposit box #                 from U.S.
    Private Vaults, Inc. ("USPV"). They are located at 9182 W. Olympic Blvd., Beverly
    Hills, CA. 90212. Their phone number is 888-948-8778.

    USPV uses iris and palm geometry scan technology to identify customers. For this
    reason, they may have no knowledge of my identity and have no way to contact me. To
    help maintain my privacy, I may have paid box rental fees in cash, possibly kept no
    receipts and I may not have retained a copy of my written USPV rental contract.

    USPV has established a procedure for the death or mental incompetence of its customers.

    In order for you to gain access to my box you will be required by USPV to provide all of
    the following:

    1) A copy of the box renter's death certificate (or court order judging the box renter
    mentally incompetent).
    2) The safe deposit box number and box key.
    3) The date the box was originally rented.
    4) The box rental payments must be made current.
    5) A copy of the court order appointing an Executor for the deceased box owner (Letters
    Testamentary or Letters of Administration). A Copy of the Executor's Driver's License
    or Passport (U.S. Private Vaults will request to view the original and retain a copy).




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   6) A copy of the U.S. Private Vaults Executor/Conservator     Notification Letter - signed
   by the box owner - MUST - additionally be located inside the box at U.S. Private Vaults,
   Inc. (or taped to the exterior of the box).
   7) If ANY of the above are not available or provided - a court order will be required
   instructing U.S. Private Vaults to release the contents of the box # to the Executor or
    Conservator.


    Inside my safe deposit box (or taped to the exterior of the box) is an envelope addressed
    to you which contains:
        • A copy of my photo identification.
        • My address, phone #, and contact information.
         • A duplicate of this letter. This letter will confirm my identity and verify the
           authenticity of this letter.

    Note: There can be no other additional "secondary" box renter(s) with access rights to the
    subject box. It there are secondary box renters the secondary box users will have ongoing
    access rights and rental extension rights to the box and USPV cannot comply with this
    letter and incorporated instructions.

    Please contact the Executor of my estate (or Conservator) and inform him/her of the
    existence of my safe deposit box. I would like you to assist him/her in obtaining a court
    order so the contents of my box may be distributed according to my wishes as stated in
    my Last Will and Testament or for my personal maintenance in case of my mental
    incompetence.

     Sincerely,



      x~
     First Name,              Last Name,                          Date:

     Address:

     Email address:~O

     Daytime#:                                 C;~
                                      U.S. Private Vaults, Inc.
                                     9182 West Olympic Blvd.
                                      Beverly Hills Ca., 90212
                                            888.948.8778
                                     info@usprivatevaults.com

                                           EXHIBIT A
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